                     UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION

SUSAN JANE HOGARTH,

                      Plaintiff,                     Case No.: 5:24-cv-00481-LF
       v.
                                                      Hon. Louise W. Flanagan
KAREN BRINSON BELL, et al.,

                      Defendants.               ORDER GRANTING PLAINTIFF’S
                                                         MOTION
                                              FOR EXTENSION OF TIME TO FILE A
                                                PROPOSED CONSENT DECREE


      Before the Court is Plaintiff Susan Jane Hogarth’s motion for an extension of

time to file a proposed consent decree between Hogarth and District Attorney Lorrin

Freeman. [ECF No. 48]. After careful consideration, the Court finds that the Motion

should be GRANTED.

      Accordingly, IT IS ORDERED that the motion is GRANTED:

      Plaintiff Susan Jane Hogarth and Defendant Wake County District Attorney

Lorrin Freeman will file a proposed consent order memoralizing the terms of a

consent decree by October 18, 2024, or file a joint status report by that date

informing the court why they have been unable to reach an agreement.

Dated: October 15, 2024



                                   __________________________________
                                   LOUISE W. FLANAGAN
                                   United States District Judge




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